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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 RICKY R. FRANKLIN,

                   Plaintiff,

            v.
                                                      Case No. 1:17-cv-01640-SB
 NAVIENT, INC., and
 STUDENT ASSISTANCE, INC.,

                   Defendants.


RENEWED MOTION TO ALTER OR AMEND APRIL 19, 2021 OPINION AND ORDER

       Defendants, Navient Solutions, LLC (misidentified as “Navient, Inc.”) (“NSL”) and

Student Assistance Corporation (misidentified as “Student Assistance, Inc.”) (“SAC”)

(collectively, “Defendants”), renew their motion to alter or amend the Court’s April 19, 2021

Opinion and Order (“Opinion and Order”) (D.I.s 95 and 96).

       As explained below, the Court has never ruled on Defendants’ summary judgment

argument that they did not place calls to Plaintiff Ricky Franklin’s (“Franklin”) cellular telephone

number ending in 3733 (the “3733 Number”) using an automatic telephone dialing system

(“ATDS”) as defined by the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

(“TCPA”). The undisputed evidence presented on summary judgment shows that Defendants did

not call Franklin’s 3733 Number using a random or sequential number generator, the defining

characteristic of an ATDS. Dominguez v. Yahoo, Inc., 894 F.3d 116 (3d Cir.2018). Franklin rather

provided his 3733 Number to Defendants – the opposite of a randomly or sequentially generated

number. Because Defendants did not use an ATDS, Franklin could only potentially recover for

calls placed using an artificial or prerecorded voice, but his own evidence shows that there are at




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most 16 such calls. The Court should therefore grant Defendants summary judgment for all but

these 16 potentially recoverable calls. 1

I.     STATEMENT OF FACTS AND PROCEDURAL HISTORY

       A.      Defendants’ Summary Judgment Motion Raised an ATDS Defense.

       Defendants’ summary judgment motion raised several arguments, including that “Franklin

cannot produce admissible evidence showing that NSL and SAC called him using an ATDS.”

(D.I. 32-1 at 13.) Defendants cited the TCPA’s language requiring random or sequential number

generation for a system to qualify as an ATDS and explained that Franklin has no evidence that

Defendants’ systems have that capacity. (Id. at 13-14.) Defendants also cited Dominguez, noting

that the “hallmark requirement of an ATDS is that it has the ‘present capacity to function as an

autodialer by generating random or sequential telephone numbers and dialing those numbers.’”

(Id. at 14.) Defendants demonstrated that Franklin provided them with the 3733 Number himself

– it was not randomly or sequentially generated. Franklin submitted deferment requests in which

he expressly included the 3733 Number and agreed that Defendants may dial it. (Id. at 2-3.)

Defendants also explained that the systems used to call Franklin’s 3733 Number – LiveVox HCI

and the Interactive Intelligence (“ININ”) system in Preview Mode – do not qualify as an ATDS

because they are forms of manual (not automatic) dialing. (Id. at 14-16.)

       Defendants reiterated these points in their reply brief, arguing that Franklin’s opposition

“fails to create a disputed issue of fact as to whether the calls to his 3733 Number were made using

an [ATDS] as defined by the TCPA.” (D.I. 38 at 5.) Defendants cited Dominguez and argued that




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 Defendants contend that they had valid consent for all the calls at issue, and deny that they called
Franklin even 16 times using an artificial or prerecorded voice (Defendants’ business records show
only 5 such calls). These defenses, however, are beyond the scope of this current motion.


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Franklin had no evidence that either the ININ or LiveVox systems could “store or produce

telephone numbers to be called, using a random or sequential number generator.” (Id. at 6.)

       The Court granted Defendants summary judgment on September 5, 2019 (D.I. 40). In

doing so, however, the Court declined to address Defendants’ ATDS arguments because it granted

the motion on other grounds – that all calls made after November 2, 2015 were exempt from the

TCPA based on the government-debt exception. (Id. at 7.) The Court also granted Defendants

summary judgment as to Franklin’s FDCPA claim. (Id. at 16.)

       B.      Franklin’s First Motion to Alter or Amend and Defendants’ Motion to Stay
               Pending the Supreme Court’s Decision in AAPC.

       Franklin then filed his first motion to alter or amend the Court’s summary judgment order,

primarily arguing that the order was contrary to decisions finding the TCPA’s government-debt

exception unconstitutional. (D.I. 44 at 7-9.) Defendants opposed Franklin’s motion, arguing that

“[e]ven if the Court were to reconsider the Budget Act exemption for NSL’s and SAC’s calls to

Franklin after November 2, 2005, Defendants are still entitled to summary judgment because the

undisputed evidence demonstrates that none of the calls were made with an ATDS as defined by

the TCPA.” (D.I. 47 at 8.) Defendants reiterated that under Dominguez, a dialing system must

have the present capacity to generate random or sequential numbers and Defendants’ systems lack

that capacity. (Id.) Defendants explained that “since Franklin was a customer of NSL and SAC,

his number was not randomly or sequentially generated—he was called on a number he

specifically provided to Defendants.” (Id. at 12.) Defendants also argued that “calls are not made

with an ATDS when human intervention is required,” and that both LiveVox HCI and ININ in

Preview Mode require human intervention to place a call. (Id. at 9, 11.)

       Defendants also filed a motion to stay pending the Supreme Court’s decision in Barr v.

American Ass’n of Political Consultants, Inc., 140 S.Ct. 812 (2020) (“AAPC”) (D.I. 59). In AAPC,

the Supreme Court was set to decide whether the TCPA’s automated call ban was rendered

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unconstitutional by the addition of the government-debt collection exception. The Court granted

the motion to stay and denied Franklin’s motion to alter or amend without prejudice. (D.I. 64.)

       C.      Franklin’s Second Motion to Alter or Amend and Defendants’ Motion to Stay
               Pending the Decision in Duguid.

       On July 6, 2020, the Supreme Court decided AAPC, holding that the addition of the

government-debt exception rendered the TCPA’s automated call ban a content-based preference

for speech in violation of the First Amendment. AAPC, 140 S. Ct. at 2347. The Court found that

the proper remedy was to sever the government-debt exception from the statute. Id. at 2349. On

the same day the Supreme Court decided AAPC, Franklin filed a motion to lift the stay. (D.I. 66.)

The Court granted the motion and lifted the stay on October 27, 2020. (D.I. 69.) Franklin then

filed a second motion to alter or amend the Court’s summary judgment order, arguing (among

other things) that the Court should apply AAPC retroactively and amend its order to the extent it

found calls by Defendants after November 2, 2015 exempted from the TCPA. (D.I.s 71-72.)

       On November 19, 2020, Defendants filed a motion seeking a stay pending the Supreme

Court’s decision in Facebook, Inc. v. Noah Duguid, No. 19-511 regarding the correct interpretation

of an ATDS. (D.I. 73.) Defendants also filed a brief in support of their second motion to stay, or

in the alternative, in opposition to Franklin’s second motion to alter or amend. (D.I. 74). Of

relevance here, Defendants again argued that they were entitled to summary judgment because

they did not use an ATDS to place any calls to Franklin’s 3733 Number. (Id. at 6.) Defendants

also argued that “if the Supreme Court holds that random or sequential number generation is a

required component of an ATDS, then Defendants did not violate the TCPA.” (Id. at 6-7.)

       D.      The Court’s Decision Regarding the Applicability of AAPC and Defendant’s
               Motion to Alter or Amend.

       On January 4, 2021, the Court confirmed the appointment of amicus counsel to file a brief

in support of Franklin’s argument regarding whether the Supreme Court’s decision in AAPC



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should apply retroactively. (D.I. 79.) The Court held argument on March 5, 2021, on Franklin’s

second motion to alter or amend and Defendants’ cross-motion to stay pending Duguid. In its

Order and Opinion dated April 19, 2021, the Court granted Franklin’s motion, amended the Court’s

prior summary judgment order, and allowed Franklin’s TCPA claims to proceed with respect to

calls made after November 2, 2015. (D.I. 96). The Order and Opinion, however, did not address

Defendants’ alternative summary judgment argument – that they did not place calls to Franklin’s

3733 Number using an ATDS. To bring the issue to the Court’s attention, Defendants filed their

Motion to Alter or Amend. (D.I. 97). Defendants argued that Franklin waived any claim based

on ATDS calls during argument on March 5, 2021. But Defendants also argued that, even if

Franklin did not waive his ATDS claim, the Court should consider the merits of Defendants’

summary judgment argument that they did call Franklin using an ATDS.

       On May 25, 2021, the Court entered an Opinion and Order denying Defendants’ Motion to

Alter or Amend the Court’s Opinion and Order, without prejudice. (D.I.s 102 and 103.) The Court

found that Franklin did not concede that he was limiting his claims to only calls with an automated

or prerecorded voice. (D.I. 102 at 2.) The Court stated that “since Navient understandably thought

that Franklin had limited his claims, it deserves another chance to move for reconsideration. It

may file another motion to reconsider and argue why the autodialer theory fails.” (Id.)

II.    LEGAL ARGUMENT

       “Motions for reconsideration are the ‘functional equivalent’ of motions to alter or amend

judgment under Federal Rule of Civil Procedure 59(e).” Samuel v. Carroll, 505 F.Supp.2d 256,

261 (D. Del. 2007). “[A] court may only alter or amend its judgment if the movant demonstrates

at least one of the following: (1) a change in the controlling law; (2) the availability of new

evidence; or (3) a need to correct a clear error of law or fact or to prevent manifest injustice.” Id.




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       A.      Defendants Presented Their ATDS Arguments on Summary Judgment and In
               Multiple Filings Thereafter, But They Have Eluded Judicial Review.

       In its May 25, 2021 Opinion, the Court noted that “Navient has never before asked me to

reconsider the summary-judgment order….” (D.I. 102 at 2.) The Court’s statement is correct but

for a bona fide reason – until their first motion to alter or amend, Defendants had no reason to file

such a motion because they prevailed on summary judgment, albeit based on the applicability of

the government-debt exception. This decision in Defendants’ favor remained the law of the case

until April 19, 2021, when the Court entered its Order finding that the government-debt exception

does not apply and amending the summary judgment order. Upon entry of that Order, Defendants

promptly sought reconsideration because the Court had not ruled on Defendants’ other summary

judgment argument addressing the lack of use of an ATDS.

       The Court’s May 25, 2021 Opinion also asked Defendants to address the following issues:

         [Navient] may file another motion to reconsider and argue why the autodialer
         theory fails. If it files one, it should also explain why I may consider its
         arguments in a motion to reconsider. In particular, if it relies on the Supreme
         Court’s recent decision in Facebook v. Duguid, it must explain why it could not
         have invoked Duguid’s rule originally.

(D.I. 102 at 2.) The procedural history shows that there is good cause to reconsider the Court’s

April 19, 2021 Order. The Order vacated summary judgment in Defendants’ favor but did not

consider Defendants’ additional summary judgment argument that even if the government-debt

exception to the TCPA did not apply, Franklin’s ATDS claim fails on its merits. Because the

Court has determined that Franklin did not abandon his TCPA claim for any alleged ATDS calls,

Defendants submit that the Court should consider Defendants’ ATDS arguments on their merits.

       Further, in response to the Court’s request that Defendants explain “why it could not have

invoked Duguid’s rule originally,” Defendants respond that they did so, both before and after

Duguid was decided. Defendants have consistently argued that neither of the dialing systems at

issue is an ATDS, including because they cannot generate random or sequential telephone

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numbers. Defendants cited Dominguez in both their opening and reply briefs on summary

judgment, noting that in the Third Circuit a system is not an ATDS unless it can generate random

or sequential telephone numbers and then dial them. (D.I. 32-1 at 13, D.I. 38 at 6.) Defendants

also made these points in opposition to both of Franklin’s motions to alter or amend. Defendants

moved for a stay pending the Supreme Court’s decision in Duguid, and following the decision,

Defendants filed briefs explaining why the Court’s decision requires a finding in their favor.

       Defendants thus contend that they have diligently pressed their ATDS arguments, but due

to the involved procedural history of the case, the Court has never considered the arguments on

their merits. Defendants contend that the Court should do so now.

       B.      Defendants Are Entitled to Summary Judgment on Franklin’s ATDS Claim.

       The Court should amend its Opinion and Order to grant Defendants summary judgment on

any calls allegedly made using an ATDS. As to his ATDS claim, Franklin must present evidence

to create a genuine issue of material fact to show he received calls using an ATDS. See Gaza v.

LTD Fin. Servs., L.P., 2015 WL 5009741, at *4 (M.D. Fla. Aug. 24, 2015) (holding the plaintiff’s

“TCPA claims fail as a matter of law because he failed to establish a genuine issue for trial with

respect to whether the calls were placed using an ATDS”). Here, Franklin cannot show that any

of the alleged calls to his 3733 Number were made using an ATDS. When asked during his

deposition to describe what he believed an ATDS to be, Franklin responded, “It’s a system that

dials numbers using an automated system and dials it frequently.” (D.I. 32-15.) When asked if he

knew how an ATDS worked, Franklin responded only he received calls to his phone “a specific

time every day for a month and a half around the same time.” (Id.) Franklin does not know what

kind of equipment Defendants use, but only believes they used an “autodialer” because they

registered the devices in Texas and called from the same number. (Id.)

       Duguid confirms that the Third Circuit properly analyzed the definition of an ATDS in


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Dominguez, and an ATDS must have the “capacity either to store a telephone number using a

random or sequential number generator or to produce a telephone number using a random or

sequential number generator.” 141 S.Ct. 1163, 1167 (2021). Yet, Franklin has no such evidence.

Indeed, the undisputed facts show that Defendants did not randomly or sequentially generate his

3733 Number – Franklin instead provided that number to Defendants in loan deferment forms.

(D.I. 32-1 at 2-3.) Because Franklin has no evidence that his 3733 Number was randomly or

sequentially generated (let alone that Defendants’ ININ and LiveVox HCI systems have that

capability), and instead he provided the number to Defendants, he cannot prevail as a matter of

law for any alleged ATDS calls.

       Moreover, the F.C.C. has consistently found that automatic dialing is a key component of

an ATDS, i.e. the “the capacity to dial numbers without human intervention.” In re Rules and

Regulations Implementing the TCPA (“FCC 2003 Order”), 18 FCC Rcd. 14014, 14091 ¶ 131

(2003) (emphasis added). The F.C.C. recently reiterated this point in a Declaratory Ruling, finding

that manually dialed calls placed with human intervention are not prohibited by the TCPA. In the

Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991,

P2P Alliance Petition for Clarification, CG Docket No. 02-278 (2020). The D.C. Circuit also

recognized that manual forms of dialing are not prohibited by the TCPA. See ACA Int’l v. FCC,

885 F.3d 687, 688 (D.C. Cir. Mar. 16, 2018) (finding that “‘auto’ in autodialer – or, equivalently,

‘automatic’ in ‘automatic telephone dialing system,’ – would seem to envision non-manual dialing

of telephone numbers”). ACA International is consistent with other courts that have ruled that

calls initiated by human intervention are not made using an ATDS. See, e.g., Fleming v. Associated

Credit Servs., Inc., 342 F. Supp. 3d 563, 577 (D.N.J. 2018) (finding that a dialing mode was not

subject to the TCPA where agents had to click telephone numbers on a screen to make calls).

       Here, the undisputed facts show that the ININ system in Preview Mode and LiveVox HCI


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are forms of manual dialing. In Preview Mode, the representative is presented with a customer’s

account at his or her workstation. (D.I. 32-12 at ¶ 16.) The representative then reviews the

customer’s account and determines whether to initiate a call to the customer. (Id. at ¶¶ 16-17.)

The representative then manually initiates a telephone call by clicking the telephone button on his

or her screen. (Id. at ¶ 17.) In Preview mode, the system is incapable of initiating a call on its

own—it is initiated only when a call-center agent takes an affirmative step to do so. (Id. at ¶ 18.)

       Likewise, every call made using the LiveVox HCI system is launched by an agent

manually. (Id. at ¶ 10.) Like Preview Mode, a call made using the LiveVox HCI system cannot

be made automatically. (Id. at ¶ 13.) For this reason, numerous courts have concluded that the

LiveVox HCI system is not an ATDS. See Pozo v. Stellar Collection Agency, Inc., 2016 WL

7851415, at *4 (M.D. Fla. Sept. 2, 2016) (LiveVox HCI system is not an ATDS where each call

required the intervention of a human “clicker agent” and if the agent did not click the number, no

number would be dialed); see also Schlusselberg v. Receivables Performance Mgmt, LLC, 2017

WL 2812884, at *4 (D. N.J. Jun. 29, 2017) (“because Defendant’s HCI system is not an autodialer

for the purposes of the TCPA, summary judgment is granted ”).

       The dialing systems Defendants used to place calls to Franklin’s 3733 Number thus not

only lacked the capacity to generate random or sequential telephone numbers, but those calls were

placed manually. Defendants are therefore entitled to summary judgment for all calls placed using

either the ININ system in Preview Mode or the LiveVox HCI system.

       C.      Franklin’s Remaining Claim Is Limited to 16 Calls Allegedly Placed With an
               Artificial or Prerecorded Voice.

       In opposing summary judgment, Franklin attached his own call log identifying what he

claims are the calls at issue. (D.I. 39-4.) His log lists 16 calls which he claims included an

“automated voice,” “please stay on the line,” or an “automated message.” Franklin has no evidence

supporting a different total, nor at this late date can he introduce any evidence he did not previously

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submit in response to Defendants’ motion for summary judgment. Franklin’s summary judgment

opposition thus created an issue of fact over, at most, 16 calls which he claims were made using

an artificial or prerecorded voice. Franklin is now bound by that number as his maximum potential

recovery for the telephone calls at issue, and the Court should limit Franklin to a potential recovery

for only these 16 alleged calls.

III.   CONCLUSION

       For all the foregoing reasons, Defendants respectfully request that the Court amend its

Opinion and Order (D.I.s 95 and 96) to grant Defendants summary judgment for any calls allegedly

made using an ATDS.


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